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              U.S.A.vs LissnerM athitu                                                                               D 04-CR-38(S-1)-01
                                                                                OUR CASE NO:21-6126-MJ-HUNT
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Case 0:21-mj-06126-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 2 of 3
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>   e I- )
                            United StatesDistrictCourt
                                           for the
                             Eastern DistrictofNew York
              Petition forW arrantorSumm onsforOffenderUnderSupen ision


NameofOFender:LissnerM athieu                                 CaseNumber04-CR-38fS-11-01

NameofSentencingJudicialOm cer:Edward R.Korman.SeninrU.S.DistrietJudee

DateofOriginalSentence:Novem ber 16.2006
OriginalOfemse:Conspiracvto lm portatLeastFiveKilogram so
                                                        -fCocaineIntotheUnited States.
                inviolationof21U.S.C.:4963.960f11fm fiik a-claggA Felonv.
OriginalSentence:TimeSew ed f1.071 Days)

TypeofSupervision:Suoea ised Releâse          DateSupewision Com menced:Novem ber 16.2006

AssimtnntU.S.Aqomey: ScottB.Klueman.Esq. Defenst Attom ey: Sabrina P.ShroftEsa.



                               PETITIONG G THE COURT

        To issuea warrant,AND OO ER THAT THIS FORM BE FILED U NDER SEAL,AND NO
        PW LIC M CORD OF W ARM NT ISSUANCE BE M ADE,UNTIL EXECUTED W ARRANT
        IS RED RNED FROM THE U.S.M ARSHAL.

Q       T0 issueasnmm ons

n eprobationom cerbelievesthaltheofenderhasviolatedthefollowingconditionts)ofsupeaision:
Violation Num ber               N atureofNoneom pllance

         1.                     Failuretoanswertmthfullyallinquiriesby theprobation om cer
                                and follow theins% ctionsoftheprobation om cer.
Case 0:21-mj-06126-PMH Document 1 Entered on FLSD Docket 03/08/2021 Page 3 of 3

ItcquestforWarrantorSumm ,for                                                                                                      Prob l2C/' Pagc2
OffcnderUnderSupervision


U.S.Probation OfflccrRecommcndation'
                                   .

        Thc term ofsupcn/ision should bc
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         C1 Extendcd for                                   vearsqfbratotaltenn of                                             years.

C1      ThccondilionsOfsupervision should bemodificdasfbllows:


        ldeclarctmdcrpenalty thatthc forcgoing istnleandcorrcct.


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                                                                   Supcrvising U .S.Probation Ol-lscer
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THE COURT ORDERS:
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